       Case 2:16-cr-00239-MCE Document 85 Filed 01/02/19 Page 1 of 3



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     Assistant Federal Defender
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5
6    Attorney for Defendant
     LORAINE DIXON
7
                                 IN THE UNITED STATES DISTRICT COURT
8
9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

10
      UNITED STATES OF AMERICA,                      Case No. 2:16-CR-0239-MCE
11
                           Plaintiff,                STIPULATION AND
12                                                   ORDER TO CONTINUE STATUS
              v.                                     CONFERENCE
13
      JOHN BREWER, et al,
14                                                   DATE:         January 3, 2019
                           Defendant.                TIME          10:00 a.m.
15                                                   JUDGE:        Hon. Morrison C. England, Jr

16
             IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
17
     Attorney, through Matthew Yelovich Assistant United States Attorney, counsel for Plaintiff, and
18
     Heather Williams, Federal Defender, through Assistant Federal Defender Jerome Price, counsel
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     for Loraine Dixon that the status conference scheduled for January 3, 2019 be vacated and
20
     continued to February 14, 2019 at 10:00 a.m.
21
             The defendant requests this continuance to enable defense counsel to continue the fact
22
     investigation, discovery review, and legal research necessary for effective defense preparation.
23
     This case involves well over one hundred thousand pages of discovery. The government does
24
     not oppose this continuance.
25
             Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
26
     excluded from the date the parties stipulated up and including February 21, 2019, pursuant to 18
27
     U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local
28
      Stipulation and Order to Continue the Status    -1-
      Conference
       Case 2:16-cr-00239-MCE Document 85 Filed 01/02/19 Page 2 of 3



1    Code T4 based upon continuity of counsel and defense preparation.
2                                                    Respectfully submitted,
3
     DATED: December 27, 2018                        HEATHER E. WILLIAMS
4                                                    Federal Defender
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                                                     /s/ Jerome Price
6                                                    JEROME PRICE
                                                     Assistant Federal Defender
7                                                    Attorney for Loraine Dixon
8    DATED: December 27, 2018                        McGREGOR W. SCOTT
                                                     United States Attorney
9
                                                     /s/ Matthew Yelovich
10                                                   Matthew Yelovich
11                                                   Assistant U.S. Attorney
                                                     Attorney for Plaintiff
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      Stipulation and Order to Continue the Status     -2-
      Conference
       Case 2:16-cr-00239-MCE Document 85 Filed 01/02/19 Page 3 of 3



1                                                    ORDER
2            The Court, having reviewed and considered the parties’ stipulation, and good cause
3    appearing therefrom, adopts the parties’ stipulation in its entirety as its order. It specifically
4    finds the failure to grant a continuance in this case would deny counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    further finds the ends of justice are served by granting the requested continuance and outweigh
7    the best interests of the public and defendant in a speedy trial.
8            Time from the date the parties stipulated, up to and including February 21, 2019, be
9    excluded from computation of time within which the trial of this case must be commenced under
10   the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv) [reasonable time for
11   counsel to prepare] and General Order 479, (Local Code T4). It is further ordered the January 3,
12   2019 status conference shall be continued until February 14, 2019, at 10:00 a.m. before District
13   Morrison C. England, Jr.
14           IT IS SO ORDERED.
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     Dated: December 29, 2018
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      Stipulation and Order to Continue the Status     -3-
      Conference
